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                            Exhibit A
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         Declaration of Ashley J. Burden Pursuant to 28 U.S.C. § 1746

        I, Ashley J. Burden, Senior Trial Attorney for Plaintiff Commodity Futures

 Trading Commission (“CFTC”), hereby declare on the basis of my personal

 knowledge that the following documents, appended as exhibits to the CFTC’s

 Motion for Statutory Restraining Order and Preliminary Injunction Pursuant to 7

 U.S.C. § 13a-1 (“SRO Motion”), are true and accurate copies of documents produced

 or provided by, or otherwise obtained from, third parties during the course of the

 CFTC’s investigation of Defendants.

  Ex.       Description1             Producing        Bates No.
                                     Party

  A-1       N.J. Dept. of Treas.     N/A              N/A, available at
            Bus. Recs. Result for                     https://www.njportal.com/dor/
            Traders Global                            businessnamesearch/
  A-2       TD Bank Cert. re         TD Bank          TDBank-0000000002
            Beneficial Owners of
            Traders Global US
  A-3       MyForexFunds             N/A              N/A, available at
            “Company Update”                          https://www.youtube.com/wat
            YouTube video, Oct.                       ch?v=HhGNWaIZ5VU
            26, 2022
  A-4       Corps. Canada Search     N/A              N/A, available at https://ised-
            Result for Traders                        isde.canada.ca/cc/lgcy/fdrlCrp
            Global                                    Srch.html
  A-5       BMO Bank of              BMO              OSC-0000000128 (excerpt)
            Montreal Acct.           Montreal via
            Opening Docs. for        Ontario
            Traders Global           Securities
            Canada                   Commission
                                     (“OSC”)
  A-6       TD Bank Group Cust.      TD Bank          OSC-0000000004 (excerpt)
            Info. Inquiry re         Group via
            Traders Global           OSC
            Canada

 1 Descriptions are authored by the undersigned.
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  A-7      Kazmi TD Bank Acct.         TD Bank US   TDBank-0000000019
           Statement, Nov. 6,                       (excerpt)
           2021
  A-8                                  TD Canada,   OSC-0000000005 (excerpt)
           Mortgage File               via OSC
  A-9      Kimmel Trading “My          N/A          N/A available at
           Forex Funds                              https://www.youtube.com/wat
           FOUNDER                                  ch?v=H3v7CeitqrM
           INTERVIEW!!”
           YouTube video, Dec.
           11, 2021
  A-10     Emails between J.           iS Risk      IS Risk Analytics-0000002198
           Dentrinos, Traders                       (excerpt)
           Global, and J
           Sorenson, iS Risk,
           Aug. 2, 2022
  A-11     iS Risk Chat Log            iS Risk      IS Risk Analytics-0000006303
                                                    (excerpts)
  A-12     Emails between J.           iS Risk      IS Risk Analytics-0000002397
           Dentrinos, Traders
           Global, and various iS
           Risk personnel, Feb.
           17-18, 2022
  A-13     Emails from J.              iS Risk      IS Risk Analytics-0000002381
           Dentrinos, Traders
           Global, to J. Wilkins,
           et al., iS Risk, Feb. 26-
           27, 2022
  A-14     Email from J. Wilkins,      iS Risk      IS Risk Analytics-0000003311
           iS Risk, to J.
           Dentrinos, Traders
           Global, June 22, 2022
  A-15     Agreement between iS        iS Risk      IS Risk Analytics-0000008754
           Risk and Traders
           Global
  A-16     Email from iS Risk          iS Risk      IS Risk Analytics-0000005351
           Reports to M. Kazmi,
           Apr. 18, 2022
  A-17     Wire Payment to “Rm         TD Bank      TDBank-0000000021
           Auctions Inc” for
           “Auction Ultimae
           Coupe”



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  A-18     RM Auctions Webpage     N/A            N/A, available at
           re Lamborghini                         https://rmsothebys.com/en/auc
           Ultimae Coupe                          tions/la22/the-
                                                  ultimate/lots/n0001-
                                                  lamborghini-11-nft-and-the-
                                                  last-aventador-coupe-ever-
                                                  produced/1240054
  A-19     Traders Global          BMO            OSC-0000000310
           Canada BMO Acct.        Montreal via
           Statement, Dec. 30,     OSC
           2022
  A-20     RM Auctions Webpage     N/A            N/A, available at
           re Bugatti                             https://rmsothebys.com/en/auc
                                                  tions/mi22/miami/lots/r0045-
                                                  2019-bugatti-chiron-
                                                  sport/1305691
  A-21     Traders Global          BMO            OSC-0000000306
           Canada BMO Acct.        Montreal via
           Statement, Apr. 28,     OSC
           2023
  A-22     J. Dentrinos            Deel           Deel_CFTC_00000106
           Contractor Agreement                   (excerpt)
  A-23     Contractor Agreement    Deel           Deel_CFTC_00154789
           with Customer 1
  A-24     Contractor Agreement    Deel           Deel_CFTC_00271397
           with Customer 2
  A-25     Contractor Agreement    Deel           Deel_CFTC_00153890
           with Customer 3
  A-26     Invoice from Customer   Deel           Deel_CFTC_00437188
           4
  A-27     Invoice from Customer   Deel           Deel_CFTC_00437182
           5
  A-28     Invoice from Customer   Deel           Deel_CFTC_00459708
           3
  A-29     Deel Acct. Opening      Deel           Deel_CFTC_00000001
           Docs.; Traders Global
           Bank Statement, Aug.
           31, 2021
  A-30     Deel Acct. Opening      Deel           Deel_CFTC_00000003
           Docs.; Traders Global
           Cert. of Incorp.
  A-31     Deel Acct. Opening      Deel           Deel_CFTC_00000002
           Docs.; Kazmi Passport


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  A-32      Coinbase Commerce         Coinbase         CB_C0526_000000006
            Merchant Registration                      (excerpt)
            for My Forex Funds
  A-33      Coinbase Acct.            Coinbase         CB_C0526_00000001
            Opening Info.
  A-34      Traders Global US         BMO              OSC-0000000129
            Cert. of Account          Montreal via
            Resolution for BMO        OSC
            Harris
  A-35      Cancelled Check for       TD Bank          TDBank-0000000016
            Somerset Deposit
  A-36      Cancelled Check for       TD Bank          TDBank-0000000017
            Somerset Balance


 I declare under penalty of perjury that the foregoing is true and correct.

  Executed August 24, 2023                s/ Ashley J. Burden
                                          Senior Trial Attorney
                                          Division of Enforcement
                                          Commodity Futures Trading Commission
                                          77 West Jackson Blvd.
                                          Suite 800
                                          Chicago, IL 60604
                                          Office: (312) 596-0693
                                          Cell: (312) 995-0779
                                          aburden@cftc.gov




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